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lN THE UNITED STATES DlSTRICT COURT
FOR THE EASTERN DISTRICT OF 'I`EXAS

TYLER DIVlSlON

 

CREAT[VE INTERNET
ADVERTISING CORPORATION,

 

 

 

 

Plaintiff,

CIVIL ACTION NO. 6:07-cv-354-LED
v.

JURY DEMANDED
YAHOO! INC., and
TIME WARNER lNC., f/k/a AOL
TIME WARNER INC., dib/a AOL

Defendants.
ORIGINAL COMPLA[NT

 

Creative Internet Advertising Corporation (“Plaintift") files this Original
Complaint against Yahoo! Inc. and Time Warner Inc. f/k/a AOL Time Warner Inc., dfb/a
AOL (“Defendants“) for infringement ofUnited States Patent No. 6,205,432 (“‘432
Patent").

JURISDICTION

l. This is an action for patent infringement under Title 35 of the Urlited
States Code. Plaintif`f is seeking injunctive relief as well as damages

2. Jun`sdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 (F ederal
Question) and 1338(3) (Patents) because this is a civil action for patent infringement
arising under the United States patent statutes

3. Plaintif’t` Creative lnternet Advertising Corporation is a Delaware

corporation and is located in Newport Beach, Caiifomia.

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4. Defendant Yahoo! Inc. is a Delaware corporation with its principal office
in Sunnyvale, Califomia. Yahoo!lnc. may be served with process by serving its
registered agent, The Corporation Turst Company, at Corporation Trust Center. 1209
Orange Street, Wilmington, Dewelare 19801.

5. Det`endant Time Wamer lnc. f/k!a Time Warner AOL, d/b/a AOL (“Time
Wamer Inc.") is a Delaware corporation with its principal office located in New York.
New York. Time Warner Inc. may be served with process by serving its registered agent,
The Corporation Turst Company1 at Corporation Trust Center, 1209 Orange Street.
Wilmington, Dewelare 19801.

6. On information and belief, Defendants’ products that are alleged herein to
infringe are made, used, imported, offered for sale and/or sold in the Eastem District of
Texas.

7_ This Court has personal jurisdiction over Defendants because Defendants
have committed acts of infringement in this district; do business in this district; and/or
have systematic and continuous contacts in this district.

VENUE

8. Venue is proper in the Eastern District of Texas pursuant to 28 U.S.C. §§
l391(c) and l400(b), because Defendants are deemed to reside in this district. In
addition, and in the altemative, Defendants have committed acts of infringement in this
district and Defendants have a regular and established place of business in this district.

INFRINGEMENT OF U.S. PATENT NO. 6,§05..43§

9. Plaintif‘f incorporates paragraphs number l through 8 herein by reference

10. This cause of action arises under the patent laws of the United States, and
in particular, 35 U.S.C. §§ 271 et seq.

l 1. Plaintiff Creative lntemet Advertising Corporation is the exclusive owner
and licensee of United States Patent No. 6,205,432 with rights to enforce the Patent and

sue infringers.

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12. A copy of United States Patent No. 6,205,432, titled Bacl<ground
Advertising System is attached hereto.

13. The ‘432 Patent is valid, enforceable and was duly issued in full
compliance with Title 35 of the United States Code.

14. On information and belief, Defendant Yahoo! Inc. has infringed and
continues to infringe on the ‘432 Patent by making, using, importing, offering for sale
and/or selling products and services, among other things, covered by one or more claims
of the ‘432 Patent, including, but not limited to1 Yahoo Mail.

15. On information and beiiet`, Defendant Time Wamer Inc. has infringed and
continues to infringe on the ‘432 Patent by making using, importing, offering for sale
and/or selling products and services, among other things, covered by one or more claims
of the ‘432 Patent, including, but not limited to, AOL instant Messenger (AIM)
Expressions.

16. On information and belief, Defendants contributorily infringed one or
more claims of the ‘432 Patent and continue to contributorily infringe one or more claims
of the ‘432 Patent, pursuant to 35 U.S.C. § 271 in the United States, including in this
judicial district.

17. On information and belief. Defendants have induced others to infringe one
or more claims of the ‘432 Patent and continue to induce others to infringe one or more
claims of the ‘432 Patent, pursuant to 35 U.S.C. § 271 in the United States, including in
this judicial district.

18. Defendants’ actions complained of herein will continue unless Defendants
are enjoined by this Court.

19. This case is exceptional pursuant to the provisions of 35 U.S.C. § 285.

20. Plaintiff has complied with 35 U.S.C. § 287.

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21.

Defendants’ actions complained of herein are causing irreparable harm and

monetary damage to Plaintiff and will continue to do so unless and until Defendants are

enjoined and restrained by this Court.

PRAYER FOR RELIEF

WHEREFORE. Plaintiff asks the Court to:

A.
B.

Enter judgment for Plaintiff on this Complaint;

Enjoin Defendants, their agents, officers. servants, employees,
attorneys and all persons in active concert or participation with
Defendants who receive notice of the order from further infringement
of United States Patent No. 6,205,432;

Award Plaintiff damages resulting from Defendants’ infringement in
accordance with 35 U.S.C. § 284;

Treble the damages in accordance with the provisions of 35 U.S.C.

§ 284;

Find the case to be exceptional under the provisions of 35 U.S.C.

§ 285;

Award Plaintiff reasonable attorney fees under 35 U.S.C. § 285;
Order the impounding and destruction of all Defendants’ products that
infringe the ‘432 Patent;

Award Plaintiff interest and costs; and

Award Plaintiff such further relief to which the Courts finds Plaintiff

entitled under law or equity.

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Respectfully Submitted,
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ATTORN EYS FOR PLAINTIFF

